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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
    UNITED STATES OF AMERICA,                                      CASE NUMBER

                                                     PLAINTIFF,                     2:21-MJ-04866-DUTY
                                   v.
   Eugene Huelsman
                                                                              ORDER FOR CONTRIBUTION
                                                                              TOWARDS ATTORNEY'S FEES
                                                                                  18 U.S.C. § 3006A(~
                                                             s).
     On            October 22, 2021          defendant                           Eugene Huelsman
     ~ submitted a financial affidavit in support of defendant's request for appointment of counsel without payment of
       fees. After review of the affidavit, the court finds that the defendant has the present ability to make a contribution
       towards his/her attorney's fees.
     ❑ did not submit a financial affidavit, but appeared without counsel.

    Subject to this order of contribution, the Court hereby appoints                       Anne O'Toole
as counsel for the defendant
    ❑ until further notice.
    ~ for these proceedings only.

     The defendant is ordered to pay towards attorney's fees in accordance with the schedule of payments set forth below:
     ❑ A total sum of$
        ❑ due not later than
          ❑ due in monthly payments of$                                 beginning
     ❑ Monthly payments of$                                         to commence on
       and to continue until fina isposition o t is case.

    ~ Other CJA rate for today's appearance

        All cashier's checks and/or money orders must be made payable to: CLERK, U.S. DISTRICT COURT and mailed
to: United States District Court, Central District of California, 255 East Temple Street, Suite TS-134, Los Angeles,
California 90012, Attn: Fiscal Section. Your name and case number must be included on the cashier's check or money
order.
        This order is subject to reconsideration by the Court. The defendant is advised that he/she maybe required, based
upon his/her then present ability, to contribute a greater or lesser amount of money for attorney's fees upon
reconsideration by the Court.
                                                                   '~     ~         i    1
     October 22, 2021
    Dated                                                    United States                   /Magistrate Judge
cc: Clerk's Once, Fiscal Section
    c)A
    FPD
    PSA


CR-26(OS/1R)                            ORDER FOR CONTRIBUTION TOWARDS ATTORNEY'S FEES
